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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN MARIANA ISLANDS


UNITED STATES OF AMERICA.                      )         CaseNoCR "24*00014
                                               )
       Plaimiff.
                                               )         Count One:
                vs.                            )         Title 18. U.S.C. § 793(g), Conspiracy To
                                               )         Obtain and Disclose National Defense
   .lULIAN PAUL ASSANGE,                       )         Information
                                               )
       Delen dant.                             )
                                               )
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                                                                                         Dist.net Court
                                     CRIMINAL INFORMATION


       ■fl IE UNffED S'fA’fES ATfORNEY CHARGES TI lA'l:                                JUN 2 2 20:
                                     GENERAL ALLEGATIONS                       fo' 'it'.e ’^crtJ’.ern r-.ia-nara IsianOo
                                                                               By.        ... JE.
                                                                                           (L-^putv' CIeA)
                         THE DEFENDANT AND CO-CONSPIRATOR


                The defendant. .lULIAN PAUL ASSANGE (“'ASSANGFO. was not a United

States citizen, did not possess a U.S. security clearance, and did not have authorization to possess,

access, or control documents, writings, or notes relating to the national defense of the United

States, including United States government classified information.

       9
                Chelsea Manning ("’Manning”) was a United States Army intelligence analyst who

held a TOP SECRE'f U.S. security clearance who was deployed to forward Operating Base

Hammer in Iraq.

                                CLASSIFIED INFORMATION


       3.          Pursuant to Executive Order 12958 signed on April 17. 1995. as amended by

Executive Order 13292 on March 25. 2003. and Executive Order 13526 on December 29.2009,


national    securitv   information    was   classified    as   ""TOP   SECRET.”       "’SECRET.^’            or
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 CONFIDENTIAL.           National security information was information owned by, produced by,

produced for, and under the controlof the United States governmentthatwas classified as follows:

        a.      Information was classified as TOP SECRET if the unauthorized disclosure of that


                information reasonably could be expected to cause exceptionally grave dama^ to

                the national security that the original classification authority was able to identify

                and describe.


        b.      Information was classified as SECRET         if the unauthorized disclosure of that


                information reasonably could be expected to cause serious damage to the national

                security that the original classification authority was able to identify and describe.

        c.      Information was classified as CONFIDENTIAL if the unauthorized disclosure of


                that information reasonably could be expected to cause damage to the national

                security that the original classification authority was able to identify and describe.

        4.      Information classified at any level could only be lawfully accessed by persons

determined by an appropriate United States government official to be eligible for access to

classified information, who had signed an approved non-disclosure agreement, who received a

security clearance, and who had a “need to know” the classified information.                Classified


information could only be stored in an approved facility and container.

                                           COUNT ONE

               Conspiracy to Obtain and Disclose National Defense Information
                                     18 U.S.C. § 793(g)

        5.      Paragraphs 1-4 of this information are incorporated by reference and realleged as

if set forth fully herein.

        6.      From at least 2009 and continuing through at least 2011, in an offense begun and

committed outside of the jurisdiction of any particular state or district of the United States, the
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defendant, JULIAN PAUL ASSANGE, who will be first brought to the District of the Northern

Mariana Islands, knowingly and unlawfully conspired with Chelsea Manning to commit the

following offenses against the United States:

       a.     To receive and obtain documents, writings, and notes connected with the national

              defense, including such materials classified up to the SECRET level, for the

              purpose of obtaining information respecting the national defense, and knowing and

              with reason to believe at the time such materials were received and obtained, they


              had been and would be taken, obtained, and disposed of by a person contrary to the

              provisions of Chapter 37 of Title 18 of the United States Code, in violation of Title

              18, United States Code, Section 793(c);

       b.     To willfully communicate documents relating to the national defense, including

              documents classified up to the SECRET level, from persons having lawful

              possession of or access to such documents, to persons not entitled to receive them,

              in violation of Title 18, United States Code. Section 793(d); and

       c.     To willfully communicate documents relating to the national defense from peisons

              in unauthorized possession of such documents to persons not entitled to receive

              them, in violation of Title 18, United States Code, Section 793(e).

       7.     In furtherance of the conspiracy, and to accomplish its objects, ASSANGE and

Manning committed lawful and unlawful overt acts.

              (All in violation of Title 18, United States Code, Section 793(g))
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      SHAWN N. ANDERSON
      United States Attorney
      Qi    1C   'f Guam and the NMI


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